Case 19-81981               Doc 9-3          Filed 10/10/19 Entered 10/10/19 16:02:18                                   Desc Proposed
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